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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                        )
In re:                                                                  )   Chapter 11
                                                                        )
BIG LOTS, INC., et al.,                                                 )   Case No. 24-11967 (JKS)
                                                                        )
                                      Debtors.1                         )   (Jointly Administered)
                                                                        )
                                                                        )   Re: Docket No. 1262

  ORDER (I) AUTHORIZING AND APPROVING (A) THE DEBTORS’ ASSUMPTION
  OF AND PERFORMANCE UNDER THE PURCHASE AGREEMENT AND (B) THE
    SALE OF THE WESTMINSTER ASSETS FREE AND CLEAR OF ALL LIENS,
   CLAIMS, ENCUMBRANCES AND OTHER INTERESTS, (II) APPROVING THE
             SETTLEMENT AND (III) GRANTING RELATED RELIEF

         Upon the motion (the “Motion”),2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors” and, each, a “Debtor”), pursuant to sections 105(a), 363,

and 365 of title 11 of the United States Code (the “Bankruptcy Code”) and rules 2002, 6004,

6006, and 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule

6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), seeking entry of an order (this “Order”):

(a) authorizing and approving (i) the Debtors’ entry into and performance under that certain

Purchase Agreement, attached as Exhibit 1 to this Order, whereby Seller has agreed to sell, and

Buyer has agreed to purchase, the Property, and (ii) the sale of the Property to Buyer free and clear



         1
            The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.

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             Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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of all liens, claims, encumbrances, and other interests pursuant to section 363(f) of the Bankruptcy

Code, (b) approving the Settlement of the Litigation, and (c) granting related relief, all as more

fully set forth in the Motion; and upon the Ramsden Declaration and the Macke Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate and no other notice need be provided; and this Court having reviewed the Motion and

having heard the statements in support of the relief requested therein at a hearing before this Court;

and this Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

FOUND, CONCLUDED, AND DETERMINED THAT:

       A.      Notice. As evidenced by the certificate filed with the Court [Docket No. 1347],

proper, adequate, and sufficient notice of, and a reasonable opportunity to object or otherwise to

be heard regarding, (i) the Motion; (ii) the entry of this Order; and (iii) the Sale contemplated under

the Purchase Agreement have been provided to all parties entitled thereto. Such notice constitutes

good and sufficient notice of, and a reasonable opportunity to object or be heard regarding, the




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Motion and the entry of this Order under Bankruptcy Code §§102(1), 363 and 365 and Bankruptcy

Rules 2002 (including, without limitation, 2002(i)), 6004, 6006, and 9019 and Local Rule 6004-1.

No other or further notice of, opportunity to object to, or other opportunity to be heard regarding

the Motion or the entry of this Order need be given to any entity.

        B.      Disclosures. The disclosures made by the Debtors in the Motion and related

documents filed with the Court concerning the Sale are sufficient under the circumstances.

        C.      Entry Into and Sale is in Best Interests of the Debtors’ Estates. The Debtors’

determination that a sale of the Property through a private sale on the terms and conditions set

forth in the Purchase Agreement is in the best interests of the Debtors’ estates and constitutes a

valid and sound exercise of the Debtors’ business judgment. The total consideration provided to

the Debtors for the Property represents the highest and best offer reasonably and practicably

received by the Debtors for the Property. No other entity or group of entities has presented a higher

or otherwise better offer to the Debtors to purchase the Property for greater economic value to the

Debtors’ estates. The Sale contemplated under the Purchase Agreement, including the total

consideration to be realized by the Debtors thereunder, (i) is the highest and best offer received for

the Property by the Debtors and (ii) is in the best interests of the Debtors, their creditors, their

estates, and other parties in interest. The assumption of the Purchase Agreement by the Debtors

is therefore also in the best interests of the Debtors, their creditors, their estates, and other parties

in interest.

        D.      Good Faith. The sales process engaged in by Buyer and Seller, and the negotiation

of the Purchase Agreement, was non-collusive, in good faith, and substantively and procedurally

fair to all parties in interest. Buyer is acquiring the Property in good faith and is a good faith

purchaser within the meaning of section 363(m) of the Bankruptcy Code. Neither Buyer nor any




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of its affiliates, officers, directors, members, partners, principals, or shareholders (or equivalent)

or any of its respective representatives, successors, or assigns is an “insider” (as defined under

section 101(31) of the Bankruptcy Code) of any Debtor, and, therefore, each such person is entitled

to the full protections of section 363(m), and otherwise has proceeded in good faith in all respects

in connection with these chapter 11 cases in that: (1) Buyer recognized that the Debtors were free

to deal with any other party interested in acquiring the applicable Property; (2) all payments to be

made by Buyer and other agreements or arrangements entered into, or to be entered into, by such

Buyer in connection with the Sale have been disclosed; (3) Buyer has not violated section 363(n)

of the Bankruptcy Code by any action or inaction; and (4) the negotiation and execution of the

Purchase Agreement, including the applicable Sale contemplated thereby, were at arms’-length

and in good faith. There was no evidence of insider influence or improper conduct by Buyer or

any of their affiliates in connection with the negotiation of the Sale with the Debtors.

       E.      No Collusion. The Sale and transactions contemplated thereby cannot be avoided

under section 363(n) of the Bankruptcy Code. None of the Debtors, Buyer, or any of their

respective affiliates, officers, directors, members, partners, principals, or shareholders

(or equivalent) or any of their respective representatives, attorneys, successors, or assigns have

engaged in any conduct that would cause or permit the consummation of the Sale to be avoided,

or costs or damages to be imposed, under section 363(n) of the Bankruptcy Code.

       F.      Purchasers Not Successors. By consummating the Sale substantially pursuant to

the terms of the Purchase Agreement, neither Buyer nor its affiliates are a mere continuation of

any Debtor or any Debtor’s estate, and there is no continuity, no common identity, and no

continuity of enterprise between Buyer and any Debtor. By consummating the Sale substantially

pursuant to the terms of the Purchase Agreement, Buyer and its affiliates shall not be deemed to




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be holding itself out as a continuation of the Debtors based on the Sale, the Purchase Agreement,

any subsequent documentation entered into for purposes of consummating such transaction, or this

Order. Neither Buyer nor its affiliates are a successor to any Debtor or any Debtor’s estate by

reason of any theory of law or equity, and the Sale does not amount to a consolidation, merger, or

de facto merger of any purchaser and the Debtors.

       G.      Binding Agreement. The Purchase Agreement is a valid and binding contract

between the Seller and Buyer and shall be enforceable pursuant to its terms. The Purchase

Agreement was not entered into for the purpose of hindering, delaying or defrauding creditors

under the Bankruptcy Code or under laws of the United States, any state, territory, possession, or

the District of Columbia. The Purchase Agreement and the Sale itself, and the consummation

thereof, shall be, to the extent provided in the applicable agreement, specifically enforceable

against and binding upon (without posting any bond) the Debtors and any chapter 7 or chapter 11

trustee appointed with respect to any of the Debtors, and shall not be subject to rejection or

avoidance by the foregoing parties or any other person. The terms and provisions of the Purchase

Agreement and this Order shall be binding in all respects upon, and shall inure to the benefit of,

the Debtors, their estates, and their creditors (whether known or unknown), the applicable

purchaser, and each of their respective affiliates, successors, and assigns, and any affected third

parties, including, without limitation, all persons asserting encumbrances (collectively,

the “Bound Parties”), notwithstanding any subsequent appointment of any trustee, examiner, or

receiver under the Bankruptcy Code or any other law, and all such provisions and terms shall

likewise be binding on such trustee, examiner, receiver, party, entity, or other fiduciary under the

Bankruptcy Code or any other law with respect to any of the Bound Parties, and all such terms

shall likewise be binding on such trustee, examiner, receiver, party, entity, or other fiduciary, and




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shall not be subject to rejection or avoidance by the Debtors, their estates, their creditors or any

trustee, examiner, receiver, party, entity, or other fiduciary. The provisions of this Order and the

terms and provisions of the Purchase Agreement, shall survive the entry of any order that may be

entered confirming or consummating any chapter 11 plan of the Debtors, dismissing these

chapter 11 cases, or converting these chapter 11 cases to cases under chapter 7. The rights and

interests granted pursuant to this Order and the Purchase Agreement shall continue in these or any

superseding cases and shall be binding upon the Bound Parties and their respective successors and

permitted assigns including, without limitation, any trustee, party, entity, or other fiduciary

hereafter appointed as a legal representative of the Debtors under chapter 7 or chapter 11 of the

Bankruptcy Code. Any trustee appointed for the Debtors under any provision of the Bankruptcy

Code, whether the Debtors are proceeding under chapter 7 or chapter 11 of the Bankruptcy Code,

shall be authorized and directed to perform under the Purchase Agreement and this Order without

the need for further order of the Court.

       H.      Free and Clear Sale. The Debtors may sell the Property free and clear of all claims

against or interests in the Debtors, their estates, or any of the Property because, in each case, one

or more of the standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been

satisfied. Those holders of claims or interests who did not object or who withdrew their objections

to the Motion are deemed to have consented pursuant to Bankruptcy Code section 363(f)(2).

Those holders of claims or interests who did object, fall within one or more of the other subsections

of Bankruptcy Code section 363(f), including that such holders of claims or interests are

adequately protected by having their claims that constitute interests in the Property, if any, attach

to the proceeds of the Sale with the same priority that existed immediately prior to the closing.




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       I.      If the Sale was not free and clear of all claims or interests, or if Buyer would, or in

the future could, be liable for any of such claims, such purchaser would not have entered into and

consummated the Sale, thus adversely affecting the Debtors and their estates and creditors.

In addition, the sale of the Property other than pursuant to a transfer that is free and clear of all

claims, interests, and encumbrances, would be of substantially less benefit to the Debtors’ estates.

The total consideration to be provided under the Sale reflects Buyer’s reliance on this Order to

provide it, pursuant to sections 105(a) and 363(f) of the Bankruptcy Code, with title to and

possession of the applicable assets free and clear of all claims.

       J.      Sound Business Purpose. The Debtors have demonstrated good, sufficient and

sound business purposes and justifications for approval of the Settlement, and the approval of and

entry into the Settlement and any ancillary agreements thereto (i) are a result of due deliberation

by the Debtors and constitute a sound and reasonable exercise of the Debtors’ business judgment

consistent with their fiduciary duties; (ii) provide value and are beneficial to the Debtors’ estates,

and are in the best interests of the Debtors, their estates and their stakeholders; and (iii) are

reasonable and appropriate under the Circumstances.

       K.      The Settlement Is Fair. Given the facts and circumstances of these Chapter 11 Cases

and the natures of the claims and causes of action that may be asserted by or on behalf of the

Debtors and their estates against Buyer and by Buyer against the Debtors and their estates, the

compromises and obligations contained in the Settlement are fair, reasonable and adequate, in the

best interests of the Debtors’ estates and their creditors, and represent a valid and proper exercise

of the Debtors’ business judgment.




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       L.        Reasonableness of Settlement. The compromise and settlement of claims set forth

in the Settlement substantially exceeds the lowest point in the range of reasonableness. The

benefits and consideration that Buyer will provide pursuant to the Settlement are fair, equitable

and constitute adequate consideration for the releases and other consideration that Buyer is to

receive pursuant to the Settlement and constitute reasonably equivalent value therefor.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       1.        The relief requested in the Motion is granted and approved to the extent indicated

herein, and the Sale and Settlement contemplated thereby are authorized and approved as set forth

in this Order.

       2.        All objections to the Motion or the relief requested therein that have not been

withdrawn or otherwise resolved are overruled on the merits and denied. All persons and entities

with notice of the relief sought in the Motion and set forth in this Order that failed to timely object

thereto are deemed to consent to such relief, including for purposes of section 363(f)(2) of the

Bankruptcy Code.

       3.        The Debtors are authorized to enter into, and perform under, the Purchase

Agreement and all other ancillary documents, including, without limitation, all exhibits and

schedules attached to the Purchase Agreement.

       4.        The Purchase Agreement and all other ancillary documents, all of the terms and

conditions thereof, and the Sale and Settlement contemplated thereby, are hereby approved in all

respects, except as otherwise expressly set forth herein. The failure specifically to include any

particular terms of the Purchase Agreement in this Order shall not diminish or impair the

effectiveness of such provision, it being the intent of the Court that the Sale and Settlement be

authorized and approved in their entirety.




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        5.      Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are authorized and

empowered to take any and all actions necessary or appropriate to (a) consummate the Sale of the

Property to Buyer pursuant to and in accordance with the terms and conditions of the Purchase

Agreement, (b) close the Sale as contemplated in the Purchase Agreement and this Order,

(c) effectuate the Settlement as contemplated in the Purchase Agreement, and (d) execute and

deliver, perform under, consummate, and implement the Purchase Agreement, together with all

additional instruments and ancillary documents that may be reasonably necessary or desirable to

implement the Sale and Settlement, or as may be reasonably necessary or appropriate to the

performance of the obligations as contemplated by the Purchase Agreement and such other

ancillary documents.

        6.      This Order shall be binding in all respects upon the Debtors, their estates, all

creditors, all holders of equity interests in the Debtors, all holders of any claims against any Debtor,

any holders of claims against or on some or all of the Property, all counterparties to any executory

contract or unexpired lease of the Debtors, any trustees, examiners, or other fiduciary under any

section of the Bankruptcy Code, if any, subsequently appointed in any of these chapter 11 cases

or upon a conversion to chapter 7 of the Bankruptcy Code of any of the Debtors’ cases, and any

filing agents, filing officers, title agents, recording agencies, secretaries of state, and other persons

and entities who may be required by operation of law, the duties of their office or contract, to

accept, file, register, or otherwise record or release any documents or instruments or who may be

required to report or insure any title in or to the Property. The terms and provisions of the Purchase

Agreement and this Order shall inure to the benefit of the Debtors, their estates and their creditors,

Buyer and its affiliates, and any other affected third parties, including all persons asserting any

claims in the Property to be sold pursuant to the Purchase Agreement, notwithstanding any




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subsequent appointment of any trustee(s), party, entity, or other fiduciary under any section of any

chapter of the Bankruptcy Code, as to which trustee(s), party, entity, or other fiduciary such terms

and provisions likewise shall be binding. This Order shall survive any dismissal or conversion of

any of these chapter 11 cases or any dismissal of any subsequent chapter 7 cases.

        7.      The transfer of the Property shall constitute a legal, valid, binding, and effective

transfer of each such Property and, upon the Debtors’ receipt of the purchase consideration, shall

be free and clear of liens, claims, and encumbrances. Those holders of claims who did not object

(or who ultimately withdrew their objections, if any) to the Sale are deemed to have consented to

the Sale being free and clear of their claims pursuant to section 363(f)(2) of the Bankruptcy Code.

Those holders of claims who did object could be compelled in a legal or equitable proceeding to

accept money satisfaction of such claims pursuant to section 363(f)(5) of the Bankruptcy Code, or

fall within one or more of the other subsections of section 363(f) of the Bankruptcy Code and are

therefore adequately protected by having their claims that constitute interests in the Property, if

any, attach to the proceeds of the Sale with the same priority that existed immediately prior to the

closing. Upon the closing, the Debtors shall transfer the Property to Buyer. Pursuant to

section 363(f) of the Bankruptcy Code, the transfer of the Property shall be free and clear of liens

and all interests, liabilities, obligations, or claims (including all “claims” within the meaning of

section 101(5) of the Bankruptcy Code).

        8.      All persons and entities holding liens or interests in the Property arising under or

out of, in connection with, or in any way relating to the Debtors or the transfer of such Property to

Buyer hereby are forever barred, estopped, and permanently enjoined from asserting against Buyer

or its successors or assigns, its property, or such persons’ or entities’ liens or interests in and to the

Property.




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          9.      Except to the extent of the Debtors’ post-closing obligations to Buyer set forth in

the Purchase Agreement, after the closing of the sale, the Debtors shall have no further liability

with respect to the Property, and any claims, whether administrative or otherwise, relating to or

arising from such Property after the closing of the sale asserted against the Debtors shall be deemed

disallowed.

          10.     All liens and interests in the Property held by the Debtors’ DIP Lenders shall attach

to the proceeds of the Sale with the same priority that existed immediately prior to the closing.

Notwithstanding anything to the contrary herein, the net cash proceeds of the Sale will not be

transferred or applied other than in accordance with the Final DIP Order [Docket No. 584].

          11.     A certified copy of this Order may be filed with the appropriate clerk and/or

recorded with the appropriate recorder to act to cancel any of the liens and other encumbrances of

record.

          12.     If any person or entity that has filed statements or other documents or agreements

evidencing liens on, or interests in, any of the Property shall not have delivered to the Debtors

prior to the closing in proper form for filing and executed by the appropriate parties, termination

statements, instruments of satisfaction, releases of liens, and any other documents necessary for

the purpose of documenting the release of liens or interests which the person or entity has or may

assert with respect to such assets, the Debtors and Buyer are hereby authorized to execute and file

such statements, instruments, releases, and other documents on behalf of such person or entity with

respect to such assets.

          13.     This Order is and shall be binding upon and govern the acts of all persons and

entities, including, without limitation, all filing agents, filing officers, administrative agencies,

governmental departments, secretaries of state, federal and local officials, and all other persons




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and entities who may be required by operation of law, the duties of their office, or contract, to

accept, file, register, or otherwise record or release any documents or instruments, or who may be

required to report or insure any title or state of title in or to any lease; and each of the foregoing

persons and entities is hereby directed to accept for filing any and all of the documents and

instruments necessary and appropriate to consummate the transactions contemplated by the

Purchase Agreement.

       14.     The Purchase Agreement and any related agreements, documents or other

instruments may be modified, amended or supplemented by the parties thereto and in accordance

with the terms thereof, without further order of the Court, provided that any such modification,

amendment or supplement does not have a material adverse effect on the Debtors’ estates or the

rights of any party holding a lien, claim or encumbrance on or against the Property.

       15.     The Sale contemplated by the Purchase Agreement is undertaken by the Seller and

Buyer without collusion and in good faith, as that term is defined in section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate any transaction shall not affect the validity of such transaction

(including, for the avoidance of doubt, the sale of the Property free and clear of all claims), unless

such authorization and consummation of such transaction was stayed pending such appeal. Buyer

is a good-faith purchaser within the meaning of section 363(m) of the Bankruptcy Code and, as

such, is entitled to the full protections of section 363(m) of the Bankruptcy Code. Buyer has not

colluded with any potential purchasers, or any other parties interested in the Property, and therefore

the sale of the Property may not be avoided pursuant to section 363(n) of the Bankruptcy Code.

       16.     The automatic stay pursuant to section 362 is hereby lifted to the extent necessary,

without further order of this Court, to (a) allow Buyer to deliver any notice provided for in the




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Purchase Agreement and any ancillary documents and (b) allow Buyer to take any and all actions

permitted under this Order, the Purchase Agreement, and any ancillary documents in accordance

with the terms and conditions thereof.

        17.     The Debtors, including their respective officers, employees, and agents, are hereby

authorized to execute such documents and do such acts as are necessary or desirable to carry out

the transactions contemplated by the terms and conditions of the Purchase Agreement and this

Order. The Debtors shall be, and they hereby are, authorized to take all such actions as may be

necessary to effectuate the terms of the Purchase Agreement and this Order and the relief granted

pursuant to this Order.

        18.     From time to time, as and when requested by any party, each party to the Sale shall

execute and deliver, or cause to be executed and delivered, all such documents and instruments

and shall take, or cause to be taken, all such further or other actions as such other party may

reasonably deem necessary or desirable to effectuate the Settlement and consummate the Sale,

including such actions as may be necessary to vest, perfect or confirm, of record or otherwise, in

Buyer its right, title and interest in and to the Property, as applicable.

        19.     Notwithstanding the provisions of the Bankruptcy Rules, including Bankruptcy

Rules 6004(h), 6006(d), and 7062, or any applicable provisions of the Local Rules, this Order shall

not be stayed after the entry hereof, but shall be effective and enforceable immediately upon entry,

and the fourteen (14) day stay provided in Bankruptcy Rules 6004(h) and 6006(d) is waived and

shall not apply. Time is of the essence in closing the Sale and the Seller and Buyer intend to close

the Sale as soon as practicable.       The Debtors and Buyer are authorized to close the Sale

immediately upon entry of this Order.




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       20.     Nothing contained in the Motion or this Order, and no action taken pursuant to the

relief requested or granted (including any payment made in accordance with this Order), is

intended as or shall be construed or deemed to be: (a) an admission as to the amount, validity or

priority of, or basis for any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Order; (e) a

request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or

perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; (g) a presumption, concession or admission by the Debtors of any fault, liability or

wrongdoing as to any facts, claims or contentions that have been or might be alleged or asserted

in connection with the Litigation that is the subject of the Settlement and the various releases

contemplated thereby; or (h) a waiver or limitation of any claims, causes of action or other rights

of the Debtors or any other party in interest against any person or entity under the Bankruptcy

Code or any other applicable law.

       21.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rules 6004(a) and the Local Rules are satisfied

by such notice.

       22.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.




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       23.     The Court shall retain jurisdiction to interpret, implement, and enforce the terms

and provisions of this Order and the Purchase Agreement entered into for purposes of

consummating the Sale and effectuating the Settlement, all amendments thereto, and any waivers

and consents thereunder and each of the agreements executed in connection therewith to which the

Debtors are a party, and to adjudicate, if necessary, any and all disputes concerning or relating in

any way to the sale of the Property or Settlement of the Litigation.




                                                           J. KATE STICKLES
      Dated: December 20th, 2024
                                                           UNITED STATES BANKRUPTCY JUDGE
      Wilmington, Delaware



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